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Attorneys for Plaintiffs
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
BOARD OF TRUSTEES OF THE Case No.:
TEAMSTERS LOCAL 631 SECURITY
FUND FOR SOUTHERN NEVADA; BOARD
OF TRUSTEES OF THE TEAMSTERS
CONVENTION INDUSTRY TRAINING
FUND
Plaintiffs,
VS. COMPLAINT

SHEPARD EXPOSITION SERVICES, INC.,
a Georgia corporation

Defendant.

 

 

 

 

Plaintiffs allege:

L. This action arises under the Employee Retirement Income Security Act of 1974
(“ERISA”), 29 U.S.C. §§ 1001-1500, and the Court has jurisdiction pursuant to 29 U.S.C. §
1132(e).

2. Plaintiffs are the Board of Trustees of the Teamsters Local 631 Security Fund for
Southern Nevada and Trustees of the Teamsters Convention Industry Training Fund (‘Trust

Funds”) and consist of fiduciaries for purposes of ERISA.

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3 Defendant Shepard Exposition Services, Inc. (“Shepard”), a company that is
incorporated under the laws of Georgia, acted as an employer within the State of Nevada
employing persons (“Covered Employees”) who perform work covered by a collective bargaining
agreement (“CBA”) between Shepard and the International Brotherhood of Teamsters Local 631
(“Union”).

4, The Trust Funds are ERISA employee benefit Trust Funds that provides benefits to
Covered Employees.

5. The CBA incorporates by reference the Trust Agreement establishing the Trust
Funds (“Trust Agreements”).

6. The CBA, the Trust Agreement, and 29 U.S.C. § 1145 require each employer,
including Shepard, to make timely contributions to the Trust Funds on behalf of each employee
who performs work covered by the CBA.

7. The CBA, the Trust Agreement, and 29 U.S.C. § 1132(g) provide for assessment
of audit fees, court costs, expenses, interest, attorneys’ fees and liquidated damages against an
employer in the event the employer defaults in making payments to the Trust Funds and legal

proceedings are required to recover such payments.

SOLE CLAIM FOR RELIEF
Delinquent Contributions

8. Paragraphs 1 through 7 are incorporated by reference as though fully set forth
herein.

9. Shepard has failed to meet its obligations to remit employee benefit contributions
to the Trust Funds as set forth in the CBA and Trust Agreement.

10. Asa result of its delinquency, Shepard is liable to the Trust Funds for unpaid

contributions, interest, liquidated damages, audit fees, and attorneys’ fees.

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WHEREFORE, Plaintiffs pray for relief as follows:

ii, A judgment against Shepard in an amount demonstrated at trial for unpaid
contributions, liquidated damages, interest, court costs and attorney’s fees as required by ERISA
and the Trust Agreement;

2. For other equitable relief as provided by ERISA, including but not limited to
injunctive relief; and

a. For such other and further relief as the Court deems proper.
Dated: January 24, 2020 BROWNSTEIN HYATT FARBER SCHRECK, LLP

/s/ Christopher M. Humes

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